            Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------)(
MICHAEL A. BROWN and RICHARD J. MILLER,

                        Plaintiffs,
                                                                 VERIFIED COMPLAINT
        -against-
                                                                 DEMANDS TRIAL BY JURY
NEW YORK STATE TROOPER E.E. REISER and
NEW YORK STATE TROOPER T.A. CHARKO,

                         Defendants.
------------------------------------------------------------}C
        Plaintiffs, by their attorneys, Bloom & Bloom, P.C. and Alex Smith, Esq.,

complaining of the Defendants, allege as follows:

                                            THE PARTIES

        1. Plaintiff Michael A. Brown ("Brown") is an individual residing in Wappingers

Falls, Dutchess County, New York.

        2. Plaintiff Richard J. Miller (''Miller'') is an individual residing in Fishkill,

Dutchess County, New York.

        3. Defendant E.E. Reiser ("Reiser") was and continues to be an individual

employed as a State Trooper by the New York State Police at Troop K in Salt Point, New

York, and acted in such capacity during the occurrences hereinafter set forth.

        4. Defendant T.A. Charko ("Charko") was and continues to be an individual

employed as a State Trooper by the New York State Police at Troop K in Salt Point, New

York, and acted in such capacity during the occurrences hereinafter set forth.
          Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 2 of 17




                    NATURE OF ACTION AND JURISDICTION

       5. This is a civil action pursuant to 42 U.S.C. § 1983 seeking damages against the

Defendants for committing acts under color of law which deprived the Plaintiffs of rights

secured under the Constitution and laws of the United States and particularly under the

provisions of the First, Fourth and Fourteenth Amendments.

       5. Each and all of the acts of the Defendants Reiser and Charko were done by them

in their individual capacities under the color and pretense of the statutes, ordinances,

regulations, customs and usages of the State of New York and under their authority as New

York State Troopers. Reiser and Charko are sued in their individual capacities.

       6. Jurisdiction is conferred on this Court by 28 USC §§1331 and 1343.

       7. This Court's supplemental jurisdiction is also invoked to assert Plaintiffs'

New York State constitutional and common law claims.

       8. This action is properly filed in the United States District Court for the Southern

District of New York, as authorized by 28 U.S.C. §1391, inasmuch as Plaintiffs' residences

are in Dutchess County, New York, Defendants' places of business are in Dutchess

County, New York, and because the causes of action on which this action is based arose in

the Southern District of New York.

                               STATEMENT OF CLAIMS

       9. On Wednesday, September 11,2019, at about 12:00 - 12:30 p.m., Plaintiff

Brown was traveling in his fiancee's vehicle, a pick-up truck, north on the Taconic
          Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 3 of 17




Parkway, heading toward Interstate 84 West. Plaintiff Miller was sitting in the front

passenger seat

       10. Brown's vehicle was in the right lane on the Taconic, and cars were passing

him in the left lane.

       11. Brown noticed a State Trooper police SUV, behind them traveling in the

passing lane; the lights were not on and the SUV did not appear to be pulling anyone over.

       12. When the Trooper SUV caught up to Brown's vehicle, the trooper who was

driving (Defendant Charko) maintained speed with Brown's vehicle, thus staying

alongside on the Parkway.

       13. Brown saw the Trooper vehicle through his peripheral vision, and observed

the Trooper who was sitting in the passenger seat (Defendant Reiser) glaring at him.

       14. The glaring continued for 15 to 20 seconds until Brown looked directly over

and made eye contact with Reiser.

       15. At this point the Troopers sped up driving forward.

       16. When Brown approached the exit to turn westbound onto 1-84, he turned on

the appropriate signal and observed the Troopers parked in the median.

       17. The Troopers quickly pulled out of the median as Brown drove onto the exit

ramp, and the SUV's overhead lights were activated.

       18. Brown pulled his vehicle to the side of the road on 1-84, near the on-ramp onto

1-84 West from the Taconic Parkway.

       19. The Troopers got out of their vehicle and approached Brown's vehicle.
           Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 4 of 17




       20. Reiser said to Brown that he was being pulled over because his blinker was

not working.

       21. Brown told Trooper Reiser that his blinkers were working and he turned them

on to demonstrate that they were operable.

       21. Reiser then asked Brown for his license and registration.

       22. Reiser took these documents, and without checking them walked over to the

passenger side of the pick-up truck, and instructed Miller to get out of the vehicle.

       23. Miller started to get out of the vehicle, but due to the height of the pick-up

truck, Miller used the handle of the truck to help step down from the front passenger seat.

       24. Before Miller actually exited the vehicle and before he had stepped down to

the ground, Reiser started frisking his person, particularly his groin area, and also started

searching his pockets.

       25. At this point, Brown asked Reiser what he was doing and stated that he had not

even run his license or registration yet; Reiser snapped back to Brown ''what is your

problem, do we have a problem?"

       26. While Reiser was frisking Miller, he was asking Miller, in substance, what his

relationship was with Brown, how long have you known him, and how long have you been

friends.

       27. Reiser then said to Miller and Brown, if you just tell us where the drugs are, we

won't have to go through this.
           Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 5 of 17




       28. Brown stated, I don't have drugs, and told Reiser where he had been and that

he was heading to Fishkill; at this point, Reiser was still searching Miller.

       29. Reiser then went back to the SUV, ostensibly to run Brown's license and

registration.

       30. Reiser then walked back to Brown, but before he returned the documents, he

told Brown, "tell us where the drugs are, we deal with this all the time and usually let you

go the first time."

       31. Reiser then stated that he noticed the truck was registered to Beverly

Constable. Reiser asked Brown who she was, and Brown responded that she was his

fiancee.

       32. Reiser then questions her relation to Brown and how long have they been

together. Brown responds, in substance, 20+ years, what does this have to do anything?

Reiser replied that it is just ''weird'' or "odd".

       33. Brown then asks Reiser ifhe wanted him to call her, and Reiser, says ''well

could you?" Brown asks ifhe is serious, and Reiser shouts at him again "what is your

problem, do we have a problem".

        34. Reiser then told Brown, in substance, that if you won't tell me where the drugs

are, then get out of the car.

        35. Brown began to exit the vehicle, and Reiser started to search Brown.

        36. Brown asks him, ''what are you doing", and Reiser directed him to go stand by

the side of the guardrail.
           Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 6 of 17




         37. The temperature was approximately 90 degrees Fahrenheit at that time.

         38. Reiser then told Miller and Brown that if they told him where the drugs were,

"we can get you out of the sun."

         39. Both Miller and Brown told Reiser, in substance, that Miller cannot stand in

the sun, that he has health conditions and cannot be exposed to direct sunlight for a long

period of time.

         40. In response, Reiser says to them, in substance, that this was their own doing,

that they could get out of the sun if they just told him where the drugs are.

         41. Brown again stated that he has no drugs. Miller then also stated they had no

drugs.

         42. Reiser responds, in substance, that I am going to get the dog and search your

vehicle and I will find it (the drugs).

         43. As Reiser walks to the SUY to get the dog, Brown and Miller were standing

with Charko, who was noticeably younger than Reiser.

         44. Brown asked Charko how long he had been on the force, and Charko replied 8

months.

         45. With Reiser still near the SUY, Charko was using hand gestures, which Miller

and Brown interpreted as telling them to "shush", "just let him do his thing", "don't

provoke"; these gestures were not accompanied by anything verbal.

         46. Charko was quietly shaking his head, appeared to be intimidated by Reiser,

seemed not to like what was going on and did not take part in it.
           Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 7 of 17




         47. Reiser then had the dog search Brown's vehicle for about 5 minutes, and then

returned the dog to the SUY.

         48. Brown and Miller again tell the Troopers that Miller cannot remain in the

direct sun and that he is going to get ill.

         49. Reiser responds by saying, in substance, just tell me where the drugs are, the

dog didn't find anything, just tell me where the drugs are.

         50. Brown says the dog just searched the car and there are no drugs.

         51. Reiser responds by saying he is going to get the dog again.

         52. As Reiser walked back towards the SUY to get the dog, Miller said quietly, I

have to start recording, but Reiser heard him; Miller was referring to his cell phone.

         53. Reiser shouted at Miller to get up from the guardrail and go back to the pick-up

truck.

         54. Reiser then forcibly grabbed the cell phone from Miller, without consent,

slammed it on the hood of the pick-up truck and it then fell into the pavement The cell

phone was cracked as a result.

         55. Miller picked it up and said to Reiser, you cracked my screen; Reiser replied

"oops".

         56. Reiser told Miller to put his hands on the hood, but since the pick-up truck was

still running and sitting in direct sunlight, Miller told Reiser that it is too hot to touch.

         57. Reiser told Miller to let his hands hover above the hood, and Reiser frisked and

searched him again.
          Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 8 of 17




        58. Brown then said to Charko, "you know this is wrong", and Charko just shakes

his head. Reiser again asks Brown where the drugs are, and Brown tells him again that

there are no drugs.

        59. Reiser then tells Brown to go over to the pick-up truck and put his hands on the

hood.

        60. Brown puts his hands on the hood, thus burning his hands.

        61. Reiser then "karate chops" Brown's thighs to his groin.

        62. Brown's hands continued to burn and he was in pain.

        63. Reiser told Brown that if they just tell him ''where the drugs were, we wouldn't

have to go through this, I go through all the time, usually let the guys go on the first time,

you are keepings yourselves out here."

        64. Reiser then directed Brown to go sit on the guardrail with Miller.

        65. Brown and Miller now are sitting on the guardrail on the side of road in the

sun, and they are profusely sweating.

        66. Reiser goes to get the dog again, and Reiser searches the car again with the dog

for 10 to 15 minutes, but finds nothing.

        67. Reiser comes over to the guardrail and says, in substance, teU me where the

drugs are again and you can leave. Brown replies again that he has no drugs.

        68. Miller is very red; Brown tells Reiser again that Miller needs to get out of the

sun because he has health issues and is going to get sick.

        69. Reiser tells Brown, "we get this all the time".
           Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 9 of 17




       70. Reiser then tells them, ''we are going to let you guys go", and "1 am just doing

my job."

       71. Brown tells Reiser, in substance, this is wrong, what you did is wrong.

       72. Reiser shouts again ''what is your problem do you have a problem".

       73. Miller and Brown return to their vehicle.

       74. Charko comes to the passenger side window, and asks that Miller sign a paper

saying that "we did everything right".

       75. Miller refuses to sign the proffered paper.

       76. Approximately, one and a halfhours elapsed from the time the Troopers pulled

the pick-up truck over to the time that Plaintiffs were allowed to leave.

       77. No traffic tickets or summonses were issued to either Plaintiff.

       78. Approximately 3 minutes after they left, Miller started throwing up. Brown

was afraid to pull over because the Troopers were behind them. Miller was throwing up

on the floor of the vehicle.

       79. Following September 11, 2019, Miller vomited over four consecutive days and

lost 12 to 15 pounds over 2 weeks because of nausea. Miller also experienced daily

headaches thereafter for one month measured from September 11,2019, and four

headaches per week in the successive month.

       80. The acts, conduct and behavior of Defendants were performed knowingly,

intentionally and with d~ljberate indifference to Plaintiffs' constitutional rights.
         Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 10 of 17




       81. All of the foregoing occurred without any fault or provocation on the part of

Plaintiffs who were wholly innocent and who were not engaged in any unlawful or

wrongful conduct.

       82. By virtue of the Defendants' conduct as described herein, Plaintiffs suffered

shame, humiliation, indignity, mental anguish, emotional distress and other psychological

injuries, as well as physical injuries.

       83. By reason of the foregoing, Plaintiffs are entitled to an award of compensatory

damages against the Defendants.

       84. By reason of the foregoing, and because Defendants acted in bad faith and with

a wanton, grossly reckless and unconscionable disregard of Plaintiffs' rights, privileges,

welfare and well-being, were motivated by a racial animus, and were guilty of egregious

misconduct toward them, Plaintiffs are entitled to an award of punitive damages against

Defendants.

                       AS AND FOR A FIRST CAUSE OF ACTION

       85. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

        86. The aforesaid actions of the Defendants are wholly without legal justification

and are sufficiently arbitrary and conscience-shocking as to violate Plaintiffs' rights under

     the Due Process Clauses of the United States and New York State Constitutions.
         Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 11 of 17




                    AS AND FOR A SECOND CAUSE OF ACTION

       87. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "I" through "84" as though fully set forth herein.

       88. The conduct of Defendants as set forth above violated Plaintiffs' Federal

Fourth and Fourteenth Amendment and State Article I, Section 12 rights not to be

detained by the use of excessive force.

                     AS AND FOR A THIRD CAUSE OF ACTION

       89. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

       90. The conduct of Defendants as set forth above violated Plaintiffs' Federal

Fourth and Fourteenth Amendment and State Article I, Section 12 rights not to be

unreasonably detained for an excessive period of time.    The unnecessary and overlong

detention of Plaintiffs ripened into an arrest without probable cause.

                    AS AND FOR A FOURTH CAUSE OF ACTION

       91. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

       92. The conduct of Defendants as set forth above violated Plaintiff Brown's

Federal Fourth and Fourteenth Amendment and State Article I, Section 12 rights not to be

subject to a warrantless, non-consensual unreasonable search of his vehicle.
         Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 12 of 17




                      ASANDFORAF~HCAUSEOFACTION


       93. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though "fully set forth herein.

       94. The conduct of Defendants as set forth above violated Plaintiffs' Federal

Fourth and Fourteenth Amendment and State Article I, Section 12 rights not to be subject

to warrantless, non-consensual unreasonable searches of their persons.

                     AS AND FOR A SIXTH CAUSE OF ACTION

       95. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

       96. The conduct of Defendants as set forth above violated Plaintiffs' Federal

First and Fourteenth Amendment and State Article I, Section 8 rights not to be subject to

retaliation for the exercise of protected speech.

                    AS AND FOR A SEVENTH CAUSE OF ACTION

       97. Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

       98. The conduct of Defendants as set forth above violated Plaintiffs' Federal

Fourteenth Amendment and State Article I, Section 11 rights to be guaranteed the equal

protection of the laws.

                    AS AND FOR AN EIGHTH CAUSE OF ACTION

       99.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.
         Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 13 of 17




       100.   The conduct of Defendants as set forth above violated PlaintiffMiller~s

rights not to be deprived of property without due process of law as guaranteed by the Due

Process Clauses of the United States and New York Constitutions.

                      AS AND FOR A NINTH CAUSE OF ACTION

       101.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

       102.   The conduct of Defendants as set forth above constituted deliberate

indifference to Plaintiff Miller's apparent and serious medical needs in violation of his

rights to due process of law as guaranteed by the Due Process Clauses of the United

States and New York Constitutions.

                     AS AND FOR A TENTH CAUSE OF ACTION

       103.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs "1" through "84" as though fully set forth herein.

       104. In addition to the constitutional violations set forth above, Defendants'

conduct constituted the torts of false imprisonment, assault, battery, larceny, conversion,

robbery, intentional infliction of emotional distress, and the failure to intervene to halt

and cease the commission of the afore-mentioned torts under the common law of the

State of New York.

       WHEREFORE, Plaintiffs demand judgment against the Defendants:

       1. Adjudging and Declaring:

              A. Violations ofPlaintifIs' rights to due process of law guaranteed by the
         Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 14 of 17




Fourteenth Amendment to the United States Constitution and Article I, Section 6 of the

New York State Constitution;

              B. Violations of Plaintiffs' rights to be free from the use of excessive force

as guaranteed by the Fourth and Fourteenth Amendments to the United States Constitution

and Article I, Section 12 of the New York State Constitution;

              C. Violations of Plaintiffs , rights to be free from unreasonable searches and

seizures as guaranteed by the Fourth and Fourteenth Amendments to the United States

Constitution and Article I, Section 12 of the New York State Constitution;

              D. Violations of Plaintiffs' rights to equal protection of the laws as

guaranteed by the Fourteenth Amendment to the United States Constitution and Article I,

Section 11 of the New York State Constitution;

              E.     Violations of Plaintiffs' rights to freedom of speech as guaranteed by

the First and Fourteenth Amendments to the United States Constitution and Article I,

Section 8 of the New York State Constitution;

              F. Defendants' conduct constituted the torts of false imprisonment,

assault, battery, larceny, conversion, robbery, intentional infliction of emotional distress,

and the failure to intervene to halt and cease the commission of the afore-mentioned torts

under the common law of the State of New York.

       2. Awarding Plaintiffs compensatory and punitive damages for the violations of

their constitutional and common law rights in amounts to be determined by the Court; and

       3. Awarding Plaintiffs the reasonable costs and expenses of this action and
         Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 15 of 17




attorneys fees; and

      4. Granting Plaintiffs such other and further relief as may be just.



Dated: December 16, 2019
       Middletown, New York



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          Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 16 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------){
MICHAEL A. BROWN and RICHARD J. MILLER,

                        Plaintiffs,
                                                                 VERIFICATION
        -against-

NEW YORK STATE TROOPER E.E. REISER and
NEW YORK. STATE TROOPER T.A. CHARKO,

                         Defendants.
------------------------------------------------------------){
State of New York
                                 ss:
County of Orange

        RICHARD J. MILLER, being duly sworn, deposes and says:

       That he is one of the Plaintiffs herein; that he has read the foregoing Verified
Complaint and knows the content thereof; and that the same is true to his own knowledge,
except as to those matters alleged on information and belief, and as to those matters he
believes them to be true.
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                                                 RI~ J. MILLER




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          Case 7:19-cv-11588-PED Document 1 Filed 12/18/19 Page 17 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL A. BROWN and RICHARD 1. MILLER,

                         Plaintiffs,
                                                                 VERIFICATION
        -against-

NEW YORK. STATE TROOPER E.E. REISER and
NEW YORK STATE TROOPER T A. CHARKO,

                          Defendants.
------------------------------------------------------------}C
State of New York
                                 ss:
County of Orange

        MICHAEL A. BROWN, being duly sworn, deposes and says:

       That he is one of the Plaintiffs herein; that he has read the foregoing Verified
Complaint and knows the content thereof; and that the same is true to his own knowledge,
except as to those matters alleged on information and belief, and as to those matters he
believes them to be true.

                                                   I'n~~ --b b~'
                                                 MICHA LA. BROWN

Sworn to before me this
 /3 day-o"·· ber,2019
